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          Exhibit 27
4/7/2017                                 Report on Battery Park City Authority provokes rebuttals
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     (Left to right) Robert Serpico, Wilson Kimball, B.P.C.A. Board Chairman William Thompson
     at a meeting last spring.


     Report on Battery Park City Authority provokes rebuttals
     BY Terese Loeb Kreuzer

     A scathing report from the New York State Inspector General’s office issued last Friday
     condemned the Battery Park City Authority for wastefulness, favoritism in promotions and                        REGINIMK2009
     compensation and sloppy internal accounting practices.

     The B.P.C.A. is a public benefit corporation created by New York State in 1968 “to plan,
     create, coordinate and maintain” Battery Park City’s 92 acres of residential and office
     buildings, retail stores and park space on the Lower West Side of Manhattan.

     The 31­page report (pdf of report here) which states that the B.P.C.A. squandered an average
     of more than $45,000 a year on holiday parties and picnics for employees and gifts for
     departing employees, also states that the Authority spent an average of $3,500 a year on
     flowers and cakes for employees “to acknowledge events such as birthdays, bereavements and
     to extend get­well wishes.”

     Joseph Fisch, the inspector general, castigated the Authority for paying for lunches during in­
     house business meetings and also took it to task for paying for restaurant meals such as those
     enjoyed by then­chairman James Gill and former president James Cavanaugh.

     “From late 2006 through 2008, Cavanaugh and Gill had lunch together at the Authority’s
     expense a total of 32 times,” the report states, at an average cost of $70 per meal.

     The report also accused the Authority of contributing approximately $4.2 million to non­profit
     organizations from 2004 to 2008, including some that “did not directly relate to the
     Authority’s mission.” Ten of these organizations with a tenuous relationship to the Authority’s
     mission received a total of approximately $25,000 a year from the Authority, the report says.
     These contributions and others were said not to have been correctly or adequately reported on
     financial filings.

     James Gill, who served as the unpaid chairman of the Authority for 13 years until his
     retirement in February 2010, was criticized for making use of a State vehicle and drivers, and
     not reporting his usage, estimated at $19,000 from 2006 to 2008, as income for tax purposes.
     Rather than disputing this finding, Gill has agreed to repay the estimated sum.

     The most serious allegations in the report have to do with the termination of the Authority’s
     controller, Debra Bogosian, who was fired by Mr. Cavanaugh in October 2008 despite having
     previously, and very recently, received commendations for her performance and a merit raise.
     The report states that Bogosian’s supervisor, Robert Serpico, objected to her termination.
     Cavanaugh testified that Bogosian had had abrasive relationships with other staff members,
     which is why she was fired.
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     When the Inspector General interviewed Bogosian under oath, she stated that her termination
     was, in the words of the report, “improperly influenced by Wilson Kimball, whom she                                      People
     believed Cavanaugh favored.” Kimball, senior vice president for operations, reported to                                 Recent
     Cavanaugh and there are allegations in the Inspector General’s document that the two were                               Popular
     romantically involved.
                                                                                                                   Top Commenters
     Bogosian asked to be reinstated. Instead she was offered severance pay of $56,304 and
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4/7/2017                                 Report on Battery Park City Authority provokes rebuttals
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     Bogosian asked to be reinstated. Instead she was offered severance pay of $56,304 and
     required to sign an agreement stating that she would not disparage or criticize the Authority.
     Bogosian did not instigate the Inspector General’s investigation. It was the result of an
     anonymous e­mail and electronically submitted complaint form received in November 2008
     on the Inspector General’s website, which alleged “fraud and corruption” at the Battery Park
     City Authority and stated that Cavanaugh and Kimball, his subordinate, were in a romantic
     relationship.                                                                                                                           arniek
                                                                                                                                    · 19 posts
     During the Inspector General’s investigation, neither Cavanaugh nor Kimball would answer
     questions about this under oath. Cavanaugh resigned from the Authority effective Oct. 1,
     2010. Kimball is still on staff. The Inspector General implied that Mr. Cavanaugh’s departure
     was because of the investigation. Cavanaugh denies this. According to Cavanaugh, he (along
     with six other senior executives with many years of service) took a generous buy­out offer                                           C Ceres Merry
     from the State. “This was a long­planned retirement,” Cavanaugh said, “not a forced                                             · 9 posts
     resignation.”

     Regarding Bogosian’s termination, Cavanaugh said that “numerous employees had submitted
     written complaints” about her and that outside employment counsel — the firm of Harris
     Beach — was consulted prior to her termination and concurred that termination was
                                                                                                                                    Damballa La Flambeau
     warranted.
                                                                                                                                     · 7 posts
     As for the report in general, he commented, “The question for the public, is why more than
     $750,000 was spent on an investigation that questions spending that, in total, amounted to less
     than half that.”

     In a telephone interview, Cavanaugh elaborated that the $750,000 was the cost of legal fees                                         new york escorts
     incurred by the Authority and did not take into account staff time or the costs on the Inspector                                · 7 posts
     General’s end.

     “All in,” said Mr. Cavanaugh, “this investigation has probably cost a million dollars to date.”

     In September, the Battery Park City Authority Board of Directors adopted policies to address
     most of the major concerns in the Inspector General’s report. These policies pertain to                                             Pierce Inverarity
     financial contributions to non­governmental organizations, seasonal Authority events and                                        · 6 posts
     meal allowances. Policy regarding “non­fraternization” adopted in September specifically
     states that “consensual romantic and/or sexual relationships or platonic living relationships
     between a supervisor and employee in which the supervisor has the ability to impact the                                           
     progress or assignments of another employee are strictly prohibited.”

     William Thompson, Jr. the current chairman of the Battery Park City Authority, issued a
     statement in response to the Inspector General’s report. “While this investigation predates my
     appointment as Chairman,” he said, “I have taken seriously the Inspector General’s
     preliminary findings and recommendations and have taken several steps to institute
     appropriate changes at the Authority since my appointment. The Board of the Battery Park
     City Authority and I are committed to ensuring that the Authority adheres to the highest
     standards of conduct.  The actions we have taken over the last several months will ensure the
     Authority is operating at the highest levels and is prepared for the future. I want to thank
     Inspector General Fisch for his excellent work.”

     Nevertheless, there has been a hue and cry from members of the Battery Park City community
     who decry the “wasteful” spending when ground rents are slated to increase for many Battery
     Park City buildings, and from Julie Menin, chair of Community Board 1.

     “Having read the Inspector General’s report, I think the findings in the report are obviously
     shocking,” she said in a phone interview. “The idea that a public authority – the Battery Park
     City Authority – would spend money as itemized in the Inspector General’s report on all these
     different items not having anything to do with Lower Manhattan when they are charged with
     rebuilding that neighborhood after 9/11 is really shocking and a breach of public trust.”

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                Join the discussionâ€¦


              JM â€¢ 6 years ago
              BPCA – Still Disgraced After All These Years

              The new chairman, William Thompson and president, Gayle Horwitz seem just as
              bad as the disgraced and finally departed Gill and Cavanaugh. Cavanaugh should
              have been forced out as soon as they took over BPCA instead of being allowed to
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                have been forced out as soon as they took over BPCA instead of being allowed to
                mark time until he could make early retirement. Wilson Kimball is still here as a
                senior officer even after refusing to answer the Inspector General’s questions about
                her romantic involvement with Cavanaugh. Cavanaugh also refused to answer the
                IG since they obviously didn’t want to get caught in a lie. The IG report states that
                senior managers can be replaced when refusing to answer IG questions.

                The disgraceful firing of the controller who had the support of the CFO and a
                then recent excellent performance review looks to be contrived by Kimball and
                Cavanaugh. What accounting controller is terminated without a discussion with
                the CFO? How is a termination justified when the immediate boss, a senior
                executive, is not even consulted? When asked by the IG in the report, “Kimball
                testified that she “might have” recommended to Cavanaugh that Bogosian be
                terminated”. A parsing of words by Kimball to not get caught in yet another lie.

                So the controller was terminated for crossing Kimball by her “friend” the
                president. The controller unfairly loses her job, Cavanaugh gets to hang around
                until eligible for early retirement and Kimball stays employed by BPCA only losing
                a whole five days of vacation.

                Mr. Thompson and Ms. Horwitz, you should be ashamed of yourselves. Wishful
                thinking that new executives would actually have a moral compass.

                JM
               △   ▽ â€¢ Reply â€¢ Share â€º

                         TLK > JM â€¢ 6 years ago
                         Under the new Battery Park City Authority administration, the Board of
                         Directors adopted a number of measures at the Sept. 14 Board meeting
                         that addressed the Inspector General's concerns. Regarding "non­
                         fraternization" here, in its entirety, is what the Board put in place:

                         ADOPTION OF POLICY REGARDING NON­FRATERNIZATION

                         BE IT RESOLVED, that the Authority hereby adopts the following policy
                         regarding non­fraternization:

                         Consensual romantic and/or sexual relationships or platonic living
                         relationships between a supervisor and an employee in which the
                         supervisor has the ability to impact the progress or assignments of another
                         employee are strictly prohibited. Such relationships can be disruptive to the
                         work environment, create a conflict or the appearance of a conflict of
                         interest, and lead to charges of favoritism, discrimination, and claims of
                         indirect sexual harassment. While BPCA has no desire to interfere with the
                         private lives of its employees, or their off­duty conduct, where such
                         conduct impacts upon the work environment in a negative manner, such
                         as noted above, the Authority reserves the right to take whatever action is
                         appropriate, in its discretion, to protect BPCA’s interests.

                         AND BE IT FURTHER RESOLVED, that the foregoing policy be set forth
                         as Section LVIII in the Authority Employee Handbook.

                         TLK
                         △   ▽ â€¢ Reply â€¢ Share â€º
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      June 8, 2011 |      Filed under: B.P.C. Beat |    Posted by: admin                                                                 Custom Search

    Cuomo nominates real estate developer to B.P.C.A. Board: 
    With no public announcement and no fanfare, Gov. Andrew Cuomo has nominated real estate                                This week’s featured advertisers
    developer Donald Capoccia to the Battery Park City Authority Board of Directors. Capoccia is the
    managing principal and founder of BFC Partners, a real estate firm that has been noted for creating
    affordable housing in neighborhoods such as East Harlem, the East Village and the Williamsburg                          The Church of St Luke in the
    waterfront. Some of these developments have generated considerable controversy in their                                 Fields 
    communities. In nominating Capoccia, Gov. Cuomo bypassed two Battery Park City residents,                               Holy Week
    Anthony Notaro and Martha Gallo, who had been nominated to the Battery Park City Authority
    Board by his predecessor, David Paterson. Paterson left office before those nominations could be
                                                                                                                           See All Ads
    approved by the New York State Senate, which will have to approve Capoccia’s nomination as well
    before it becomes official. Community Board 1’s Battery Park City Committee has been adamant that
    more people who live in the community should be on the B.P.C.A. Board, and is therefore not likely
    to greet Capoccia’s nomination with enthusiasm.




       Danny Meyer’s Shake Shack opened in Battery Park City at 215 Murray St. on June 1. Downtown
                                Express photos by Terese Loeb Kreuzer




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    B.P.C. Shake Shack debuts: 
    Shake Shack, the first of Danny Meyer’s trio of restaurants in Battery Park City, opened on June 1 to
    an eager crowd that couldn’t wait to get its hands on Meyer’s Angus burgers, hot dogs and milkshakes.
    The eatery at 215 Murray St. in what has come to be known as “Goldman Sachs alley” has indoor and
    outdoor seating and is open daily from 11 a.m. to 11 p.m. It is decorated with gleaming chrome, dark
    wood, and chairs painted in pale lime green, lemon yellow and dark blue. Prices are modest ($3.50 to
    $7 for burgers, $4.75 for floats, $5 for shakes, $2.65 for fries, for example.) Shake Shack also serves
    wine and beer and sells ice­cream­laced treats for dogs. The best time to go to avoid lines might be at
    10:30 p.m. when a few people drop in who are working the lobster shift or who just came from work.
    “It’s nice to have a place that’s open late!” said one Gateway Plaza resident as he polished off one of
    the Shake Shack’s concretes — an ice cream concoction prepared with a variety of mix­ins such as
    walnuts, cookie dough and amarena cherries ($4.25 for small, $6.50 for large). That particular
    combo is called a “Wall­nut Street” and if you want one, you have to go to the Battery Park City Shake
    Shack. Mr. Meyer created it just for Battery Park City. It isn’t found anywhere else.

    W.F.C. Greenmarket summer kick­off: 
    The World Financial Center Greenmarket at Liberty Street and South End Avenue opened this year
    on April 7, but Thursday, June 9 will mark the official kick­off of the summer season. Between 10:30
    a.m. and 11 a.m., there will be live music, free samples and a few speeches and from 4:30 p.m. to 6
    p.m., there will be crafts for kids, a raffle, music and cooking demonstrations with Corwin Kave,
    executive chef of Fatty Crew, which owns Fatty Crab, Fatty ‘Cue and Fatty Snack. The B.P.C.
    Greenmarket vendors include Migliorelli Farm, Red Jacket Orchard, Not Just Rugelach, Meredith’s
    Bread, Stony Mountain Ranch, MK Orchid Farm, Newgate Farms and Castello di Borghese Vineyard.
    The market is officially open on Thursdays from 11 a.m. to 7 p.m., though some vendors come earlier.

    Big Toot: a former U.S. Navy launch painted red and white like the jaunty tugboat in a children’s
    book called “Little Toot,” is back in North Cove Marina on Saturdays and Sundays, giving kids free
    rides in New York harbor. Adults pay $10 each, which helps to subsidize the cost of the program.
    Starting at 10:30 a.m., Big Toot goes out four times a day, twice to Governors Island and twice to the
    Statue of Liberty. The trip is 50 minutes long because, said Capt. Richard Dorfman, “some kids would
    get antsy with a longer trip and we don’t have a head on board.”  The boat can accommodate up to 40
    people and the trip is first­come, first­served.  Heather Slivko­Bathurst, Big Toot’s mate, keeps an
    email list for people who want to know about upcoming trips. She is also setting up a Facebook page
    for the boat. “For a lot of kids, it’s the first time they’ve been in a boat!” she said. Michael
    Fortenbaugh, North Cove Marina’s commodore, said, “This is a program that I care a lot about
    because it makes it possible for kids who grow up in the city to get on the water.” He said that people
    can email him (Mike@myc.org) for more information about the trips, which are under the
    sponsorship of Project City Kids (http://www.projectcitykids.com/)




       On June 3, around 25 people gathered on the Battery Park City esplanade where B.P.C. resident
      Sheldon Palgon had placed his 8” Celestron telescope, focusing it on the moon setting over Jersey
                                  City and then on Saturn in the southern sky.



    TimeBank Saturn watch and swap­out: 
    On June 3, there were just a few wisps of clouds and a crescent moon setting over Jersey City as
    around 25 people gathered on the Battery Park City esplanade to catch a glimpse of  Saturn. Battery
    Park City resident Sheldon Palgon pointed his 8” Celestron telescope first at the moon, whose craters
    were clearly visible. Then he aimed it at Saturn, in the southern sky. “It looks like a cartoon!” several

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    people said as they stared at Saturn’s rings through the telescope. “Awesome!” and “Terrific” were
    other remarks. Palgon explained that Saturn is the second largest planet in the Solar System with an
    orbit that can take it as close as 744 million miles from Earth or as far away from our planet as a
    billion miles. On June 3, Saturn was fairly close, he said. He said that no one really knows what
    created Saturn’s rings but that one popular theory is that they are the debris of a moon that split into
    many fragments.

    The Saturn watch was a program sponsored by the Battery Park City TimeBank, which arranges skill
    swaps among members, who trade their own time for services they need from others. The next
    TimeBank event will be on Monday, June 13 at The Terrace Club, 380 Rector Place, at 6:30 p.m.
    People will trade CDs, books, small gifts and more. You don’t have to be a TimeBank member to
    attend.

    To comment on Battery Park City Beat or to suggest article ideas, email TereseLoeb@mac.com

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  3 Responses to Covering Battery Park
           poweredsem.com
           February 6, 2014 ­ 03:18


   Glad to hear that the real estate developer Donald Capoccia is nominated to the Battery Park City Authority Board of
   Directors! He really deserves that position for his hard work! Interested to know more about the Celestron telescope!
   Reply


           Gaylene
           May 13, 2014 ­ 04:46


   Palgon explained that Saturn is the second largest planet in the Solar System with an orbit that can take it as close as
   744 million miles from Earth or as far away from our planet as a billion miles.
   Reply


           Bill
           May 16, 2014 ­ 05:17


   This blog is really great. The information here will surely be of some help to me. Thanks!.
   Reply




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    St.?
                                          Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide                       Gilbert Baker, Whose Rainbow Flag Sewed
                                          LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for        65
    Jane Jacobs, get after­school funds
                                          BULLETIN –– Gilbert Baker, Rainbow Flag
    Smorgasburg will take a bite of       Creator, Has Died
    Hudson Square

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    At Fountain House Gallery, Art
    Frames Focus on Mental Health         NYCHA will build on ‘hot’ East Side, chief
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                                                           FOOTER2

                  FOOTER1


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      Gayle Horwitz, president of the Battery Park City Authority, at a meeting of the Authority’s Audit Committee on
                             Monday, Nov. 14, five days after the B.P.C.A. fired 19 employees.



    BY TERESE LOEB KREUZER  |  As far as most people who worked for the Battery Park City
    Authority knew, Wednesday, Nov. 9, was going to be another ordinary day at the office. But when
    they came in that morning, there was a sign that said, “Do not touch your computer.” A staff meeting
    was scheduled for 10:30 a.m.

    “The president [Gayle Horwitz] came in and said there would be a mass termination,” according to
    one staff member. “She instructed everyone to go back to their cubicles. She said that if you got an
    envelope, you had until 12 noon to leave the premises.”

    “There were four, huge, scary security people there,” another employee said. “The entire staff was
    traumatized — even the people who didn’t get fired. Everybody was very shaken because nobody
    knew what this was about, but clearly something horrible was happening.”



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    A woman from human resources was delegated to walk around the office handing out envelopes with
    a letter of termination. “She was like the Angel of Death,” said one staff member who was let go. “She
    walked by some people and stopped at others, handing them an envelope. It was all public. Everyone
    knew. People were screaming and crying.”

    “When I received my envelope, I broke down. I was hysterical,” said another staff member. “I had
    never been fired. I live check to check. I’m the sole provider in my house. I take care of my mother.
    She just had surgery. She has to have more surgery in January.”

    Nineteen people were fired that day — amounting to about one third of the Battery Park City
    Authority’s staff. Those who were let go had worked for the Authority anywhere from four to 28
    years. Most had been with the Authority for more than 10 years. Two were within a few months of
    being vested in the pension plan.

    There was no severance pay. In addition, the people who were fired were told that their health
    benefits would expire on Nov. 30. One of those fired, who lives by herself and has no one to care for
    her, has had a kidney transplant and requires daily medications to stay alive. Another had had a triple
    bypass heart operation. Several of those terminated had ill family members who were covered by
    their health plans.

    Among those fired were four single parents who are the sole support of their families.

    Anne Fenton, a spokesman for the Battery Park City Authority, issued a statement to explain what
    had happened that said, “In an effort to meet its ongoing mission of ensuring a community of quality
    commercial, residential and park space, the Battery Park City Authority has restructured its
    operations including the consolidation of certain departments and functions. This restructuring will
    better position the Authority to meet its operational challenges moving forward.”

    When asked directly, Fenton would not proffer an explanation as to why the terminated employees
    received no severance pay or any advance notice so that they could seek other employment. She said
    that her statement was the B.P.C.A.’s only comment.

    “I understand that they had to restructure,” said one woman who was let go after more than a decade
    of working in Battery Park City. “We all knew that was potentially coming, but just the way it was
    done and how [it was done] are unprofessional in my opinion and it hurts. It was like they just wiped
    their hands of us and threw us in the trash. Thanksgiving is coming up and Christmas. They had no
    regard. It was like, so what?”

    She said that with the holidays around the corner and with a 9 percent unemployment rate, she
    feared that it would be months at best before she could find another job.

    “I’m just heartbroken at the way we were treated,” said another woman. “Some of these people spent
    their entire careers at the Authority and they’re not young people. After a lifetime of service, you’re
    thrown out in an hour and a half?”

    “I feel worse than an animal,” one man said, who had been with the Authority for almost 20 years and
    had won many awards for his work. “What did I do wrong? What did we do wrong? We made the
    Authority what it is. The Authority gave a lot of money to the City through our efforts.”

    Some entire departments were eliminated. There is no longer a planning department at the Battery
    Park City Authority. Should structural changes be requested in Battery Park City buildings such as
    those recently proposed by Brookfield Properties at 2 World Financial Center, there will be no one
    on staff to vet them. The most senior member of the construction department was fired. Senior
    members of the legal department who had negotiated contracts with Goldman Sachs and others were
    let go. Only one member of the Human Resources department remains.

    “This is a catastrophe for many, many people,” said one member of the management team who was
    terminated. “I also think it’s a catastrophe for the Battery Park City community. You can’t walk down
    those streets and not see how beautiful it is, and you love the place and you want the best for it. I
    don’t think in the long run this is the best for it.”

    “Most of the institutional knowledge has been pushed out the door,” said another terminated
    manager.

    “I would like to think the board was not aware of the manner in which this was carried out,” said
    James Cavanaugh, who was president of the B.P.C.A. from 2005 to 2010.

    “The B.P.C.A. has had an extremely good year and an extremely good 40 years. The employees who
    were terminated contributed to that. And I think that when one gives many years, and in some cases
    an entire career, to an organization, they deserve more than a kick in the pants on their way out the
    door. If a decision was made to downsize, given the fact that the Authority made $10 million this year
    more than they anticipated, they could have taken a little bit of that and softened the blow,
    particularly going into the holiday season.”

    Cavanaugh continued, “These are single parents with kids, people with enormous medical needs.
    These are people who are going to have trouble finding jobs because many of them are middle­aged


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    or older – this is going to be very, very tough for all of them. One or two of them were within months
    of qualifying for retirement. Now, of course, they won’t be able to retire.”

    The 19 terminated employees are trying to help each other weather this crisis. Not wanting to be
    identified by name because all of them are seeking jobs, they have selected Hector Calderon, who
    formerly operated the Community Center and the ball fields, to speak for them. They call themselves
    the “Battery Park City 19.”

    “The B.P.C.A. 19 request that the members of the Battery Park City Authority Board provide them
    with severance and medical benefits commensurate with their long term and valuable contributions
    to the Authority and the Battery Park City community,” Calderon said in a statement.

    Calderon referenced the fact that the 19 employees had been “summarily dismissed without
    severance or proper instruction about how to continue their health benefits, which they were told
    would terminate on 11/30/11.  The B.P.C.A. 19 believe that the board will rectify this injustice once
    circumstances surrounding their termination are brought to light.”

    On Thursday, Nov. 17, at 6:45 p.m., Gayle Horwitz, president of the B.P.C.A., has scheduled a town
    hall meeting at P.S. 276, located at 55 Battery Place, so residents of Battery Park City can air
    comments and complaints. The B.P.C.A. 19 hope that the topic of the layoffs and how they were
    carried out will come up at that meeting.

    In the meantime, the best answer that anyone has been able to give about the timing of the layoffs
    references B.P.C.A. Chairman William C. Thompson, Jr.’s mayoral ambitions.

    “He wants to burnish his credentials,” one person said, “ and show that he can cut costs and be a
    tough manager. That’s what’s going on here.”

    Spread the word:

       Tweet               0           Like Be the first of your friends to like this.




  4 Responses to B.P.C.A. abruptly fires nineteen employees
           My DailyComplaint
           November 16, 2011 ­ 21:04


   Why are is the PARKS contract continuing and increasing? u00a0INVESTIGATE…..Cavanaugh…HE should GO TO
   JAIL— GRAND LARCENY—­ u00a0INSP GENERAL REPORT 2010. u00a0 check it
   Reply


           Tonyroz
           November 17, 2011 ­ 04:53


   Why has Bill Thompson hired political cronies, like David Paterson's former secretary for $75,000 a year , or his
   former campaign flack for a $100,000 a year job? They are still there andu00a0career employees are shown the door?
   Some maor this guy will make!u00a0
   Reply


           Anonymous
           November 18, 2011 ­ 23:54


   Horwitz has the goods on Thompson. It's the only possible explanation for why he hired her this job.u00a0 No one
   offered her a position, even after a stint as First Deputy Comptroller.u00a0 She got that job–for which she was
   painfully unqualified and widely disliked–by ruthlessly pushing out the talented person who held the position.u00a0
   And don't forget that she was the one who fired about 50 Comptroller's office employees in mid­December 2009 just
   before Liu took over–denying them health insurance, a chance to vest in retirement, etc.u00a0 Her favorites got
   HUGE raises on their way out the door.u00a0 And watch out: she and Thompson will be filling the positions of those
   who were fired with more over­paid cronies as a reward/inducement to work on the upcoming campaign, or keep
   them from working on anyone else's.
   Reply


           Guest
           November 29, 2011 ­ 13:43


   No one should be laid off in this manner.u00a0 What happended was simply in humane and
   unacceptable.u00a0u00a0 I have never liked Thompson.u00a0 Trashing working peopleu00a0doesn't change my
   mind about him.u00a0u00a0 It just confirms that he is a scumbag!
   Reply




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    St.?
                                          Living History
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    Pride worldwide                       Gilbert Baker, Whose Rainbow Flag Sewed
                                          LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for        65
    Jane Jacobs, get after­school funds
                                          BULLETIN –– Gilbert Baker, Rainbow Flag
    Smorgasburg will take a bite of       Creator, Has Died
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    Gayle Horwitz resigns as B.P.C.A. President
      September 19, 2012 |    Filed under: News |     Posted by: admin                                                                    Custom Search



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                    Gayle Horwitz at a B.P.C.A. Board of Directors meeting. Photo by Terese Loeb Kreuzer



    BY TERESE LOEB KREUZER  |  Almost two years after she was appointed president of the
    Battery Park City Authority, Gayle Horwitz announced her resignation, effective Oct. 1. She has been
    appointed the new chief operating officer of Nardello & Co., an international firm that specializes in
    litigation support, business intelligence and fraud investigations.

    William C. Thompson Jr. brought Horwitz in as president when he became chairman of the B.P.C.A.
    in March 2010. He had worked with her since 1996, when both of them were working at the city
    Board of Education. Subsequently, when Thompson became city comptroller, Horwitz became
    deputy comptroller and chief of staff. She served as first deputy comptroller from 2007 to 2010.

    In her Sept. 12 letter of resignation addressed to B.P.C.A. Chair Dennis Mehiel, Horwitz cited some of
    her accomplishments at the B.P.C.A.

    “We opened state­of­the art, multi­sport ball fields with lighting and synthetic turf as well as a newly
    treasured open space called the Terrace,” she wrote. “The entire length of Murray Street has been
    repaved with traffic calming measures and street lights, the South Quay has been restored, Wi­Fi has
    been installed in every park and West Thames Street Park was reopened.”


http://www.downtownexpress.com/2012/09/19/gayle­horwitz­resigns­as­b­p­c­a­president/                                                                                               1/4
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    Horwitz also mentioned that construction on Pier A was moving along and that the B.P.C.A.’s part of
    it should be completed by December. The B.P.C.A.’s finances, she noted, are “on solid ground.”

    “For the fiscal year that ended on Oct. 31, 2011,” she wrote, “we exceeded our excess revenue
    projections, returning an additional $12 million to the City of New York for a total of $124 million.”
    She referenced the ground rent negotiations for the South neighborhood that brought
    “predictability” and “affordability” to the residents, as well as new leases that had been negotiated
    with the Museum of Jewish Heritage, Gigino Wagner Park and the B.P.C.A.’s own offices.

    But Horwitz’s record was far from unblemished. She is credited with having scuttled an offer of
    $750,000 that would have funded artist Tom Otterness’s creation of bronze lions for outside the
    Battery Park City Library. Otterness’s career was severely damaged when the project was cancelled
    because of opposition against it. Animal rights activists argued that the sculptor could not be forgiven
    for a film he had made as a young man in which he killed a dog, and Horwitz apparently took their
    side in the controversy.

    According to Tom Goodkind, a member of Community Board 1’s B.P.C. Committee, Horwitz’s legacy
    comes down to the banning of art. “Tom Otterness’s public art has delighted thousands of residents
    and passersby in Battery Park City for decades,” he said. “Those who remain at the B.P.C.A. should
    do all in their power to reverse Horwitz’s philistine decision.”

    Causing even more of an outcry in the community was Horwitz’s summary firing last November of 19
    long­term B.P.C.A. employees, some of whom were within a few months of retirement with full
    benefits. The day of the announcement, they were told they had less than two hours to clear out of
    their offices, that they would only be paid through the end of that day and that their health insurance
    would expire at the end of the month.

    When members of C.B. 1 and others in the community said they were “sickened” by how this was
    handled, the B.P.C.A. Board of Directors enacted a retroactive policy that provided severance pay
    and health benefits for terminated employees.

    The biggest source of controversy during the Horwitz regime, however, was undoubtedly the Asphalt
    Green community center. In her resignation letter, Horwitz wrote that construction of the long­
    awaited community center is complete and that final permits are being secured.

    The community center is now almost a year behind its initially scheduled opening date of last
    November. Horwitz and others at the B.P.C.A. have attributed the delays to permitting problems
    with the city Fire Department and the Department of Buildings. As recently as Sept. 4, Horwitz’s
    assistant Anne Fenton and B.P.C.A. spokesperson Matthew Monahan maintained this position before
    C.B. 1’s B.P.C. Committee.

    The audience at the meeting was full of disaffected residents who had paid for Asphalt Green
    memberships almost a year ago and wanted to know why the community center was not yet open.

    One woman asked whether the problem was just about paperwork or whether the B.P.C.A. was trying
    to renegotiate the original agreement with Asphalt Green.

    Fenton replied, “We’re not sure where that renegotiating with Asphalt Green – where that came
    from. This is speculation that started in the community, and we’re not going to address it.”

    In the wake of Horwitz’s resignation, it turned out that there has, indeed, been a contractual problem
    with Asphalt Green. On Sept. 12, Mehiel issued a statement that said, “We have encountered
    difficulties in preparing to implement our contract with Asphalt Green, primarily because of the
    differing requirements for transparency and community participation B.P.C.A. must comply with in
    spending public money, as compared to a private organization.”

    The statement continued, “We are actively pursuing a solution that will allow the center to open
    under terms and conditions that protect the assets we are charged with administering.”

    Mehiel also confirmed that several months ago, the B.P.C.A. had hired consultant Randy Mastro to
    advise on how the contract could be amended.

    Christina Klapper, a spokesperson for Asphalt Green, said, “With the new leadership of Dennis
    Mehiel, we remain focused on working together and look forward to serving as a member of the
    Battery Park City community.”

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  3 Responses to Gayle Horwitz resigns as B.P.C.A. President
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4/7/2017                                  Gayle Horwitz resigns as B.P.C.A. President | DOWNTOWN EXPRESS
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            @mydailyissue
            September 19, 2012 ­ 18:42


   NO mention of the past BPCA group, SCATHING ABUSE in 2010 by the Inspector General. Total fraud there.
   Thompson and Horriablewitz took total advantage, as they are both NON residents of bpc. Does anyone remember the
   CITYTIME fraud ? They were both apart of that too.
   Contracts were approved without community input "eg:parks and etc."

   Abuses will continue as will the fraud.
   Reply


            Liz
            September 21, 2012 ­ 10:36


   The coverage of this event in the downtown “newspapers” is comical at best.

   Horwitz hastily resigned because both she and her officers (Fenton, Monahan) were caught in outright lies regarding
   contract renegotiation.
   Ann Fenton was asked specifically at the CB1 meeting on 9/4 if the delays and paperwork were legal in nature and was
   also asked if BPCA was renegotiating the contract. Ann Fenton denied both.
   When news leaked on Tuesday afternoon that BPCA had hired one of the toughest litigators in the country months ago,
   BPCA was caught in an outright lie.

   Horwitz ” resigned” the next day morning.
   Interesting how none of the downtown “newspapers” accurately covered this story.

   Were they all embarrassed because a BPC resident broke the story rather than one of the journalists supposed to be
   covering the area?
   Reply


            mike
            May 3, 2016 ­ 18:26


   Gayle is great stop being mean
   Reply




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    Has St. Luke’s dropped L.G.B.T.             What the Seventh Circuit Said About
    drop­in center plan for Christopher         Sexual Orientation Discrimination
    St.?
                                                Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide
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                                          Gilbert Baker, Whose Rainbow Flag Sewed
    Push to name Morton school for        LGBTQ World Together, Dies Suddenly at
    Jane Jacobs, get after­school funds   65

    Smorgasburg will take a bite of       BULLETIN –– Gilbert Baker, Rainbow Flag
    Hudson Square                         Creator, Has Died


   Chelsea Now                            East Villager News
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                                          A Coney Island of the East Village at City
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    Frames Focus on Mental Health
                                          NYCHA will build on ‘hot’ East Side, chief
    Timothy Caughman Remembered as        assures
    Living in a ‘State of Joy’

                                                         FOOTER2                                  FOOTER3
                  FOOTER1




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    West Thames bridge
    Having gotten burned at Pier A, the Battery Park City Authority has been very cautious about                          This week’s featured advertisers
    committing to a bridge over West Street at West Thames. The B.P.C.A. says it will advance $2 million
    toward the design of the bridge but that’s it until some definite specs are on the table and there’s little
    or no chance that the authority would be holding the bag if there were cost overruns.                                  The Church of St Luke in the
    Right now at Pier A, the B.P.C.A. is looking at an expanse of dirt in front of the pier at the southern                Fields 
                                                                                                                           Holy Week
    end of Battery Park City where a plaza should be well on its way to being finished, but the city
    Comptroller’s Office won’t approve the $5 million to fund it and the New York Economic
    Development Corporation has washed its hands of the project.                                                          See All Ads

    The B.P.C.A. doesn’t want a repetition of this experience. If the E.D.C. agrees with the arrangement,
    it is willing to be a funding conduit for the Lower Manhattan Development Corporation, which would
    actually be paying for the West Thames bridge.

    “The benefit of this is that if we undertake this actual project, we will do so with a very recent,
    comprehensive design,” said B.P.C.A. chairperson Dennis Mehiel at the July 30 board of directors
    meeting. Previous cost estimates for the bridge had been based on ballpark 2008­2009 numbers, he
    said.

    With a definite design, Mehiel continued, “We’ll be able to go out and contract with contractors and
    get real costs based on a real design rather than a conceptual rendering. The other thing is that the
    completion of the design phase will put us in a position to get some insight from various stakeholders
    and interested parties about the nature of the bridge itself.”

    There has been much discussion already about how wide the bridge should be, whether it should have
    an elevator, whether it should be covered and other aspects of a project that will likely involve trade­
    offs — and might not even happen if it looks like it could turn into another Pier A­type morass.

    Poets House fundraising
    Poets House — a free poetry library at 10 River Terrace offering programs for adults and children, is
    in the midst of a fundraising campaign. If it can raise $150,000 by Aug. 31, the National Endowment
    for the Humanities will kick in another $50,000 to support Poets House programs.

    “Each year, fewer than 20 awards are given across the country,” said Poets House executive director
    Lee Briccetti. “The interest from this Challenge grant will immediately support the staff position of
    Poets House librarian, while also investing in our future.”

    Many people enjoy working in Poets House’s tranquil, sunlit reading room overlooking the Hudson
    River. Others come to Poets House for its art exhibits, lectures and poetry writing classes.

    Through Oct. 5, Poets House is hosting an exhibit called “Al­Mutanabbi Street Starts Here.”
    Handmade books, many of them illustrated, chronicle the anguish of writers and artists who
    experienced a car bombing on March 5, 2007 that destroyed Al­Mutanabbi Street in Baghdad — the
    intellectual and artistic hub of the community. Thirty people were killed, 100, injured. The street’s

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    bookstores, bookstalls, cafés, stationery stores, and teashops were reduced to rubble. “The
    deconstruction of civilization,” one poem in the exhibit called it. Another begins,

    “Under Middle Eastern stars,/Fire ravages yellowed texts,/Chars centuries of thought/Bound in
    ancient leather./As smoke twists to the sky,/Crumbling ideas wither to ash./A bookseller blinks back
    tears,/Hands clasped in quiet prayer.”

    The people of Battery Park City who lived through 9/11 can surely relate to that.

    Poets House is open Tuesdays through Fridays from 11 a.m. to 7 p.m. and from 11 a.m. to 6 p.m. on
    Saturdays. For more information, go to www.poetshouse.org

    Culinary classes at Asphalt Green
    Through the summer, Asphalt Green Battery Park City cautiously dipped its toes in the water, with its
    gym and swimming pool in full operation, and a summer camp. Now, the fall classes are about to
    begin with cultural arts and culinary arts offerings as well as circus classes.

    On the culinary front, there will be classes for kids and adults taught by chefs from a catering
    company called Great Performances. The classes include “Cooking with the Kids,” which meets on
    three successive Sundays, and “The Clean Plate Club,” which meets on three successive Tuesdays and
    Wednesdays. A “Culinary Boot Camp” is for beginning and semi­experienced home cooks, meeting on
    Monday evenings. There will be single classes in “Entertaining 1.o,” “Just Desserts,” “Comfort Food,”
    “Vegetarian Living, “Tasty Cooking for Special Diets and Allergies,” and Italian cooking.

    Classes start on Sept. 9 and run through mid­December.

    They vary in price, with discounts for Asphalt Green Battery Park City members. “Culinary Boot
    Camp,” for instance, is $360 for members and $450 for non­members. Single classes start at $115 for
    members.

    There will be free culinary demo classes from Sept. 3 to Sept. 5. For more information, call (212) 298­
    2930.




                                   Downtown Express photos by Terese Loeb Kreuzer 
      Sixteen new palm trees have now been installed in the Winter Garden at Brookfield Place. They look a little puny
                   compared with their predecessors, but the old trees had gotten too tall for the space.



    New palms
    The new palm trees have been installed in the Winter Garden at Brookfield Place, and if they look
    puny compared with their predecessors (they do), at least they’re healthy. The old palm trees had
    grown too tall for the space.

    Next up at Brookfield Place, will be the annual MotorExpo, rolling in between Sept. 8 and Sept. 13
    with all the flashiest, fanciest new cars from BMW, Cadillac, Ford, Lincoln, Mercedes­Benz and other
    manufacturers. For more information, go to MotorExpo.com/NewYork.

    Singing for Miramar
    Miramar, the Mediterranean seafood restaurant at 21 South End Ave. overlooking South Cove, just
    got its liquor license and is celebrating on Thursday, Aug. 29 from 8 p.m. to 10 p.m. with live music, a
    complimentary appetizer buffet and $5 signature cocktails. Vince Smith, of the Vince Smith Hair
    Experience, at 300 Rector Place, is providing the entertainment. Before he became a hairdresser,


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    Smith was a dancer and a singer – and he’s still a terrific singer. Miramar invites party guests to stay
    for dinner and get a coupon good for 10 percent off on their next visit.

    To comment on Battery Park City Beat or to suggest article ideas, email TereseLoeb10@gmail.com

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    St.?
                                                Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide                             Gilbert Baker, Whose Rainbow Flag Sewed
                                                LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for              65
    Jane Jacobs, get after­school funds
                                                BULLETIN –– Gilbert Baker, Rainbow Flag
    Smorgasburg will take a bite of             Creator, Has Died
    Hudson Square

                                               East Villager News
   Chelsea Now
                                                Best in Screen, 2015
    Soup Kitchen Braces for Trump                                                                              FOOTER3
    Budget Cuts                                 A Coney Island of the East Village at City
                                                Lore
    At Fountain House Gallery, Art
    Frames Focus on Mental Health               NYCHA will build on ‘hot’ East Side, chief
                                                assures
    Timothy Caughman Remembered as
    Living in a ‘State of Joy’
                                                                    FOOTER2

                  FOOTER1




http://www.downtownexpress.com/2013/08/28/battery­park­city­aug­28­2013/                                                 3/4
4/7/2017                                  Battery Park City, Aug. 28, 2013 | DOWNTOWN EXPRESS
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    Million­dollar bathrooms for Battery Park City’s Wagner
    Park                                                                                                                                 Custom Search

      February 27, 2014 |     Filed under: News |    Posted by: Josh Rogers

                                                                                                                           This week’s featured advertisers


                                                                                                                            The Church of St Luke in the
                                                                                                                            Fields 
                                                                                                                            Holy Week


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      The bathrooms at Wagner Park will be renovated at a cost of nearly $1 million. Downtown Express photo by Sam
                                                       Spokony.



    BY SAM SPOKONY | ORIGINALLY PUBLISHED FEB. 14, 2014  |  The Battery Park City Authority
    says it’s planning a major renovation of the aging public bathrooms in Robert F. Wagner Park, and
    currently estimates that the job could cost nearly $1 million.

    The 18­year­old bathrooms are, for now, still in service for visitors of the park — which sits adjacent
    to historic Battery Park — but have reportedly become much harder to maintain in recent years.

    “The planned upgrade will replace equipment and fixtures which are very nearly depleted, decrease
    the amount and cost of required upkeep, significantly improve lighting and provide an air circulation
    system, making the restrooms a much better experience for the public,” said Robin Forst, a B.P.C.A.
    spokesperson.

    The authority first put out a request for proposals (R.F.P.) for the project this past December,
    following an initial study of the site. Now, after receiving responses from three construction firms, it



http://www.downtownexpress.com/2014/02/27/million­dollar­bathrooms­for­battery­park­citys­wagner­park/                                                                             1/3
4/7/2017                          Million­dollar bathrooms for Battery Park City’s Wagner Park | DOWNTOWN EXPRESS
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    is nearly ready to approve a contract for the job, according to Chairperson Dennis Mehiel, who raised
    the issue at the Feb. 18 B.P.C.A. board meeting.

    Using an estimate from the initial study, the board agreed to cap its expenses for the contract at
    around $926,000, pending an additional, “double­check” study within the next week that seeks to
    confirm the figure.

    While the project may be approved soon, the renovations likely won’t take place until after this
    summer, Mehiel said at the meeting, in order to prevent an extended closure of the bathrooms
    during those extremely busy months for the park.

    But although the overhaul may be welcomed by plenty of local park lovers, there is at least one
    Battery Park City resident who’s already unhappy with how the job is being done.

    “I certainly wish they would’ve told us about it,” said Anthony Notaro, chairperson of Community
    Board 1’s B.P.C. Committee, who was unaware of the plans when Downtown Express reached him for
    comment on Feb. 18. “This has been such a serious problem lately,” he continued, “because [our
    committee] always wants to know about the B.P.C.A.’s capital budget, and how it’s spending money
    on infrastructure, but then we always find out about things like this after the fact.”

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    St.?
                                                 Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide                              Gilbert Baker, Whose Rainbow Flag Sewed
                                                 LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for               65
    Jane Jacobs, get after­school funds
                                                 BULLETIN –– Gilbert Baker, Rainbow Flag
    Smorgasburg will take a bite of              Creator, Has Died
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4/7/2017                           Million­dollar bathrooms for Battery Park City’s Wagner Park | DOWNTOWN EXPRESS
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                                          Best in Screen, 2015
    Soup Kitchen Braces for Trump
    Budget Cuts                           A Coney Island of the East Village at City
                                          Lore
    At Fountain House Gallery, Art
    Frames Focus on Mental Health         NYCHA will build on ‘hot’ East Side, chief
                                          assures
    Timothy Caughman Remembered as
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                                                         FOOTER2

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      March 13, 2014 |    Filed under: News |    Posted by: Josh Rogers                                                              Custom Search



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       Ice forms inside unsealed windows at Gateway Plaza. December 2013 file photo courtesy of the Gateway Plaza
                                                 Tenants Association.



    BY SAM SPOKONY |  ORIGINALLY PUBLISHED MARCH 6, 2014  |  Gateway Plaza tenants are
    outraged over their incredibly high electric bills this winter — some of which surpassed $1,000 — and
    are still calling on their landlord to complete long­overdue repairs that would make their buildings
    more energy efficient.

    “We’re in electric shock, as Gateway is in an electric bill crisis,” said Glenn Plaskin, president of the
    tenant association for the six­building, 1,700­unit complex in Battery Park City. “Management
    attributes skyrocketing costs to rising Con Edison rates and sub­zero temperatures, and while those
    things are both true, the underlying cause of these astronomical energy bills is the condition of our
    buildings.”

    Gateway’s landlord, the LeFrak Organization, has been heavily criticized by tenants and local
    politicians after failing to keep a promise — made more than a year ago — to replace or upgrade all of
    the complex’s leaky windows, poor insulation and aging heating units by the end of 2013. As of now,
    none of the windows have been replaced, only around 500 out of 4,000 heating units have been
    replaced and the insulation remains subpar, according to Plaskin.

    The tenant leader also pointed out that since Gateway’s electric meters are now 33 years old, he and
    many other tenants believe they could be giving faulty readings and should also be replaced. The
    whole situation, he said, goes at odds with the fact that Gateway is marketed as a “luxury” housing
    complex.

    “Do we call this property luxury,” Plaskin wondered. “With snow, ice, rain and cold air insinuating
    itself into apartments, tenants are suffering both physically and financially. It’s very sad when tenants

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    with young children tell me its difficult to keep their children warm.”

    As with some other developments around the city, Gateway tenants are not billed directly by Con Ed
    for their electricity use. Instead, LeFrak buys energy in bulk from the utility company and then acts as
    a middle man in billing the residents.

    And while Con Ed did raise its prices this winter — according to Gateway’s bills, the costs rose about
    20 percent from 21 cents per kilowatt hour in December to 25 cents per kilowatt hour in January —
    tenants at the complex saw their costs increase at a much, much higher rate, even though they
    claimed not to have used any more energy.

    Gateway tenant Nancy Chambers, 70, said the bills for her one­bedroom apartment nearly doubled
    this winter, from just over $300 for December to $567 for January. She and her husband, who both
    live on a fixed income through Social Security, had to borrow money just cover those costs, even as
    they’ve remained shivering cold due to the shoddy windows, bad insulation and a fear of racking up
    even higher fees by trying to warm their home.

    “I’m sitting here in the cold, under blankets, and I’m too scared to crank the heat,” she said. “I don’t
    want to move…I want to stay here, but I just want to be warm, and I shouldn’t have to borrow money
    just to pay these bills.”

    William Couig also lives in a one­bedroom apartment at Gateway, with his wife and young daughter,
    and although he said his use of heat didn’t increase, his bill similarly shot up from around $300 for
    December to more than $500 for January.

    “When I called management to complain about the bill, they didn’t even want to talk about the
    subject,” said Couig. “They posted these notices throughout the building saying that Con Ed had
    raised its prices, trying to say that’s why the bills were so much higher.”

    However, weeks after Couig’s original complaint went unheeded, a management employee stopped
    by to read his electric meter.

    “[That worker] said there were some abnormalities with the meter, maybe some spikes, and he said
    he wanted to come look at it again,” Couig explained. “That was a couple of weeks ago, and we haven’t
    heard back from them yet.”

    And Tom Goodkind, a Community Board 1 member who lives in a two­bedroom apartment at
    Gateway with his wife and children, said he somehow racked up an exorbitantly high January bill —
    just over $1,000.

    “And everything is unplugged all day while we’re all at work and school,” said Goodkind. “There’s just
    something wrong here.”

    A LeFrak spokesperson declined to answer specific questions about possible meter abnormalities that
    may have led to the absurdly high electric bills.

    But in a statement responding to questions about the overdue building repairs — which could
    improve the complex’s energy efficiency — the landlord seemed less worried about completing the
    repairs than about using them as leverage in its ongoing rent negotiations with the Battery Park City
    Authority, the state organization which is effectively LeFrak’s landlord.

    “Gateway has engaged in productive discussions with agencies of the State of New York, its regulator
    and ground­landlord, in the hopes of making adjustments to its outdated ground lease to facilitate
    investments at the property,” said the landlord’s spokesperson in the March 4 statement.

    The B.P.C.A. declined to comment on the situation.

    State Assembly Speaker Sheldon Silver has met with both the B.P.C.A. and Gateway’s tenant
    association to discuss the issue, and said in a March 5 statement that they’re all working together as
    part of an “ongoing effort” to make the repairs and upgrades. But he had took a strong stance against
    the current living situations at the complex.

    “I have made clear that residents of Gateway Plaza should not have to pay sky­high electric bills for
    poorly insulated apartments,” said Silver, who has negotiated past Gateway rent agreements with
    LeFrak for over two decades. “I am encouraged that discussions are now taking place with Gateway’s
    owner, and I am committed to ensuring that these unacceptable conditions are fixed as soon as
    possible.”

    And State Sen. Daniel Squadron — who has pushed for the repairs ever since working with LeFrak
    and Gateway’s T.A. to conduct an energy audit of the complex in 2012 — responded to LeFrak’s terse
    statement by once again calling on the landlord to simply honor its previous commitment.

    “At a meeting last February, Gateway residents were promised basic repairs and energy efficiency
    upgrades,” Squadron told Downtown Express on March 4. “Now, 13 months later, they’re still waiting
    for the promise to be kept. That’s simply wrong.”

    Spread the word:


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  13 Responses to High electric bills have Gateway Plaza tenants hot
           First Commenter
           March 6, 2014 ­ 12:16


   The submetered electric service at Gateway is a profit center for LeFrak. This issue has been an issue for over 20 years
   – it's nothing new. Demand that the Public Service Commission conduct an audit of the submetering process and they
   will conclude – as they did over 20 years ago – that the tenants are being financially raped by LeFrak. Then demand
   that the property be directly metered by ConEd, cutting LeFrak out of the middle. They will bitch and moan and
   threaten that they're saving the tenants money, and that the electric bills will become even higher. Don't believe them.
   LeFrak has never done anything that is not in their own best interests – meaning against the tenants' best interests.
   Only then will the problem be solved.
   Reply


           anonymous
           March 6, 2014 ­ 16:35


   I feel as though we are living in thee projects and NYCHA has not come to do the repairs
   Reply


           anon
           March 6, 2014 ­ 17:16


   What I don't understand is how my "heating" bills are way higher than my A/C bills. Yes, I use the A/C in the summer
   ALL NIGHT when I sleep for several months. I do not use the heat even close to that extent; rather I bundle up in
   leggies, socks and a hoodie and sleep under 3 comforters. My highest bill this past summer was $194. My Jan bill is
   $303. And I'm freezing. In addition, the bills are impossible to decipher.
   Reply


           anon
           March 6, 2014 ­ 17:32


   LeFrak is becoming a slumlord. And he wants tax breaks?????
   Reply


           LeftNYCLongAgo
           March 6, 2014 ­ 22:08


   I lived in Battery Park City from 1986 – 2003, spending 1987­1991 as a tenant at Gateway Plaza.
   Even back then, the cold air would leak in through the windows, even to such an extent as to ice up ON THE INSIDE.
   And the heating units were inadequate even back then – sounds like you current tenants are still relying on the
   original vintage electric heating units.
   And for all this, you pay several thousands of dollars in RENT a month. Wise up – buy your own apartment instead of
   just flushing your money down the toilet like this!
   Reply


           anon
           March 7, 2014 ­ 11:49


   I'm a tenant in a 2BR apt and my Bill was over $1000 as well! I would have loved to use less electricity if the apartment
   wasn't FREEZING!!! Something has to be done!!
   Reply


           Anonymous
           March 7, 2014 ­ 17:45


   Put money down on a place instead
   instead of pissing away money and making the landlord richer
   Reply


           Perhaps
           March 10, 2014 ­ 11:40


   If made windows more energy efficient, then heating bill would go down, and so the net revenue taken for building
   owner's 20% "management fee" applied to individual heating bills would be lower….guess why no repairs?
   if had a real attorney general maybe this would be solved,
   good luck to all


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   Reply


           Jerry Marcus
           March 12, 2014 ­ 13:22


   why don't we take turns standing in front of the rental office telling new tenants to get what their electrics bill should
   average in writing before they sign the lease. Maybe if we hurt Lefrak in the pocket book a little they might come
   around ?
   Reply


           harbormaster
           March 12, 2014 ­ 18:26


   Our unit had a half inch of ice inside on the window frames during the coldest days and during the blizzard we had 2
   inches of snow on the window sill – all with heat on high. It's great that the LeFrak family philanthropy have funded a
   few
   hundred million dollars of cultural buildings named after them in the city, but maybe they should use this money to
   fulfill
   their obligations to their cold tenants. Not such an ego boost for them but more truly honorable.
   Reply


           sick o'freezin
           March 12, 2014 ­ 19:53


   I understand the Tenants Assoc. doesn't feel a rent strike is the best action at this time, but how about an 'electricity
   strike' where bills are paid into an escrow account until there is a fair resolution to this issue?
   Reply


           Doug W
           August 4, 2014 ­ 17:39


   When you rent you are at the mercy of a company that is trying to make the most profits possible. If they are really
   slow at doing what they said they would do. You should look for another place to live. There are better landlords that
   keep up there properties. Commercial replacement windows for a job that size will be a major expense not to mention
   the new heating units. It could take them many years to get those projects completed and as people leave they will get
   the message.
   Reply


           Shyrik
           March 23, 2015 ­ 19:03


   Wow,
   just got my first 300$ bill for February.
   I'm a"fresh­man"in this "Gateway – GoAway"­ if I only knew about this kind of issues in the building in the very
   beggining – I wouldn't sign the lease for sure.
   Melany – the agent in the leasing office – was very nice when we were asking about the avarage bill for electricity and
   staff – the same rates from ConED… well, I used to pay straight to ConEd in the previous apt – and the biggest bill was
   95$ in January – because it's just me, no children or pets or family staying over.
   Now I've got 300$ – and my friend for the same month but with 5­bedroom3­bathroom­8people apartament paid
   250$
   just one question – IS THIS NORMAL? And she also has ConEd, but she pays straight to them , not to any kind of
   AMPS/ELEMCO,INC

   and one more questions guys: why don't you move out? Because I will. I'm not gonna spend so much money for
   rent+electricity I can see – there will be no repairs or changes here
   Reply




    Leave a Reply
    Your email address will not be published.

    Comment 




    Name



http://www.downtownexpress.com/2014/03/13/high­electric­bills­have­gateway­plaza­tenants­hot/                                   5/6
4/7/2017                              High electric bills have Gateway Plaza tenants hot | DOWNTOWN EXPRESS
                     Case 1:15-cv-06119-AJN-JLC            Document 373-28 Filed 06/19/17 Page 30 of 39
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           Post Comment




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     St.?
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     Baker sewed rainbow flag that sowed
     Pride worldwide                       Gilbert Baker, Whose Rainbow Flag Sewed
                                           LGBTQ World Together, Dies Suddenly at
     Push to name Morton school for        65
     Jane Jacobs, get after­school funds
                                           BULLETIN –– Gilbert Baker, Rainbow Flag
     Smorgasburg will take a bite of       Creator, Has Died
     Hudson Square

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     Jenifer Rajkumar and Assembly Speaker Sheldon Silver at a ceremony last year honoring the speaker, which took
          place after he had endorsed her opponent, Councilmember Margaret Chin, in the September primary.
                                    Downtown Express photo by Terese Loeb Kreuzer



    BY SAM SPOKONY |  Citing longstanding complaints of freezing apartments, sky­high electric
    bills, rising rents and lack of necessary repairs, two Gateway Plaza tenants on Tuesday filed a
    $100 million class action lawsuit against the complex’s management and the Battery Park City
    Authority.


http://www.downtownexpress.com/2014/04/02/rajkumar­suprises­pols­with­gateway­plaza­lawsuit/                                                                                      1/6
4/7/2017                           Rajkumar suprises pols with Gateway Plaza lawsuit | DOWNTOWN EXPRESS
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    One of those tenants, Maureen Koetz — a former vice­president of Gateway’s tenant association
    — is the lead plaintiff in the suit, which has yet to officially include any other plaintiffs. The
    other, Democratic District Leader Jenifer Rajkumar, is an attorney whose firm, Sanford Heisler,
    filed the suit in State Supreme Court.
    The lawsuit seeks recovery of rent and electricity overpayments, as well as an injunction
    requiring the LeFrak Organization — which manages the six­building, 1,700­unit complex on a
    ground lease from the B.P.C.A. — to finally rectify Gateway’s “defective” conditions.
    The suit, which came as a surprise to others involved in the issue, comes in the middle of
    ongoing negotiations between, on one side, LeFrak and the B.P.C.A., and on the other, the
    Gateway tenant association, State Assembly Speaker Sheldon Silver, State Senator Daniel
    Squadron and City Councilmember Margaret Chin. It’s unclear whether the suit could potentially
    derail those negotiations, which seek to mitigate the very same longstanding complaints over
    which Rajkumar’s firm filed the action.
    “This is about giving the tenants a voice,” Rajkumar told Downtown Express in an April 2 phone
    interview. “Now is the time for the tenants to come together and make a bold effort to take care
    of this problem once and for all.”
    She said that she and her office had already been “deluged” by around 100 other Gateway
    tenants hoping to join the class action suit, although Koetz was still the only official plaintiff as
    of 5 p.m. Wednesday.
    The Gateway tenant association, however, will not be joining the suit, and has now distanced
    itself entirely from the action. Glenn Plaskin, the T.A. president, told this newspaper on
    Wednesday that his board has voted unanimously to remain neutral in the matter. 
    “We have chosen the path of negotiation,” said Plaskin, “and we consider ourselves fortunate to
    have the support of our elected officials, and the strong support of B.P.C.A. Chairman Dennis
    Mehiel. They have all exerted a coordinated effort to improve living conditions at Gateway, and
    we as a tenant association will continue to do everything within our power to have management
    comply with what is in the best interest of tenants.”
    The tenant leader further stressed that the vast majority of the complex’s approximately 5,000
    tenants are not, at this point, involved in the litigation. Plaskin also added that he, along with
    others involved in the ongoing negotiations, was not aware that the suit was going to be filed on
    Tuesday.
    “We’ve been talking about the possibility of doing this for a long time, so it should not have been
    a surprise to anyone,” Rajkumar said when asked why she and Koetz did not inform Plaskin or
    any of the elected officials before announcing the suit.
    “But I welcome anyone who wants to collaborate, including the elected officials,” she said, while
    adding that she has not attempted to make contact with the electeds since it was filed.
    Both Rajkumar and Koetz have clashed with two of the elected officials currently involved in the
    Gateway negotiations.
    Rajkumar notably attempted to oust Chin in the councilmember’s bid for reelection last year,
    although Chin beat her by 17 points in a hard­fought primary battle. Rajkumar said on
    Wednesday that she has “no current plans” to run for elected office again.
    Koetz, a Republican, and a former U.S. Air Force assistant secretary, told the media in February
    that she plans to run for Silver’s office, citing his alleged mismanagement of the Vito Lopez
    sexual harassment scandal.
    Neither Chin nor Silver addressed the new suit in statements sent to Downtown Express on
    Wednesday.

    Chin said in her statement that she will “continue to work with local elected officials and
    Gateway residents to ensure that LeFrak honors [its] commitment” to make the desparately
    needed repairs.
    Silver said he will continue working with Gateway’s T.A., the other electeds and the B.P.C.A. to
    address the complex’s “deplorable” conditions. “I will continue that effort by pursuing all
    available options for ensuring that these [poorly insulated] windows are replaced,” the statement
    continued.
    The only elected official willing to talk about the lawsuit — albeit briefly — was Squadron,
    who, in a phone interview Wednesday, called the suit a “separate effort” from the negotiations
    being undertaken by he and the other electeds.



http://www.downtownexpress.com/2014/04/02/rajkumar­suprises­pols­with­gateway­plaza­lawsuit/                2/6
4/7/2017                                Rajkumar suprises pols with Gateway Plaza lawsuit | DOWNTOWN EXPRESS
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    “I think this just shows how frustrated people are about the living conditions in their
    apartments,” the state senator said. “The [lawsuit and the neogtiations] are separate facts that
    lead to the same conclusion, which is that we have a serious issue here with those living
    conditions.”
    Squadron added that, from the perspective of he and the other electeds, the suit will not stop their
    negotiations with LeFrak and the B.P.C.A. from going forward as they have been for more than a
    year, since LeFrak publicly promised to make the building repairs and upgrades.
    For its part, LeFrak responded to the lawsuit by calling it “baseless and without merit.”
    “The property provided the plaintiff [Koetz] with two brand new Frigidaire heat pump units on
    December 9,” a representative of the developer said in a statement Tuesday. “All equipment at
    the property is capable of meeting all code standards for climate comfort. Currently there are no
    unaddressed HPD violations for lack of heat at the property. The property is eminently habitable
    and many residents enjoy long tenure at Gateway; some have even lived at the property
    continuously since its opening in 1986. The plaintiff clearly enjoys living at Gateway because
    she herself renewed her own lease in December 2013.”
    The B.P.C.A. declined to comment.

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  14 Responses to Rajkumar suprises pols with Gateway Plaza lawsuit
           GatewayFreezing
           April 2, 2014 ­ 18:10


   Thank you to Jenifer Rajkumar for standing up for the tenants. It's about time someone did something about this
   terrible problem we have in Gateway.
   Reply


           BPCResident
           April 2, 2014 ­ 18:27


   While I've not been a big fan of Rajkumar in the past I applaud her for doing what Plaskin, Galloway, and the rest of
   the incompetents on the GPTA board refused to do :TAKE ACTION!
   Rajkumar should be running the GPTA, not the cabal of do­nothings currently in power.
   Reply


           355 south end
           April 2, 2014 ­ 18:49


   jenifer rajkumar is our hero. i supported her from the beginning and now you see why. leaders need to stand up and
   actually do something when the community needs help. the problem at gateway has gone on way too long. filing lawsuit
   was the right thing to do
   Reply


           Ruth
           April 2, 2014 ­ 19:30


   Freezing in your home, or face having to pay $600­$1,000 a month in electricity whle STILL freezing just isn't right.
   This situation has been ongoing for many, many years, and while there are meetings and meetings, with promises and
   promises, nothing has ever improved.
   Calling 311 and complaining means nothing…Gateway provides heat. It's just incompetent & incorrectly installed.
   Since we pay Gateway, not Con Ed, there's something more than fishy going on.
   I'd like to see a many pronged approach to addressing this issue in our so called 'luxury rental' complex!
   Reply


           GPTA Board Member
           April 2, 2014 ­ 20:09


   Jenifer Rajkumar and her co­plaintiff, Maureen Koetz, are NOT heroes.
   They have mistakenly included in their list of defendants the Battery Park City Authority, which has fully supported
   our Gateway tenants for decades. It was thanks to the BPCA and Speaker Silver that many Gateway tenants enjoy
   continued rent stabilization. The idea that the BPCA is now being sued by two disgruntled tenants, who hope to gain a
   platform and political advantage by this suit, is ludicrous. Despite what some naysayers at Gateway declare about
   GPTA, if it wasn't for GPTA such tenants would not have a stabilized rent. Likewise, GPTA is now working to protect

http://www.downtownexpress.com/2014/04/02/rajkumar­suprises­pols­with­gateway­plaza­lawsuit/                               3/6
4/7/2017                                    Rajkumar suprises pols with Gateway Plaza lawsuit | DOWNTOWN EXPRESS
                           Case 1:15-cv-06119-AJN-JLC          Document 373-28 Filed 06/19/17 Page 34 of 39
   more tenants in a myriad of ways. Plaskin and Galloway, neither of whom have political aspirations, have worked
   tirelessly on behalf of tenants, and their efforts have always paid off.
   Reply

                    BPCResident
                    April 3, 2014 ­ 14:28


           You're a fake (probably Plaskin or Galloway tooting his own horn) . And if you are indeed a GPTA Board
           member, shame on you for not even having the stones to identify yourself.
           This is what the GPTA gives Gateway residents: No action for years and years, and Board members who are too
           ashamed of their incompetence to identify themselves. Plaskin and Galloway have to go. They should do all of
           Gateway a favor and quit the GPTA and let some people who are willing to take action get something done! Do
           nothings, get out of the way!
           Reply


            Correction
            April 2, 2014 ­ 20:31


   I personally know many members of the Gateway Tenants Association who actually are huge fans of Rajkumar's
   lawsuit. Why wouldn't we like someone fighting for us? And by the way, Jeff Galloway ran for political office in 2011
   and lost and Plaskin is always cozying up to the pols, so you are incorrect that they don't have political aspirations.
   Reply


            FreezinginGateway
            April 3, 2014 ­ 12:04


   As a freezing Gateway tenant, I applaud any efforts that focus attention on the structural issues at Gateway. However,
   to paint MS Koetz and Ms Rajkumar as anything but the opportunists they are is naive. Ms.Koetz is running for State
   Senate as a Republican in a heavily Democratic district. This issue gives her the platform she needs. If she were really
   interested in improving life at Gateway, she would not have quit the GPTA board after one year. (I voted for her in
   2012, but she was not on the ballot in 2013.)
   In response to other postings attacking the GPTA. The GPTA has been extremely effective at resolving issues in
   addition to rent stabilization that impact me. LeFrak tried to ban my lab and other dogs over 40 pounds from Gateway.
   The GPTA stopped them. When the smell of garbage made my apartment uninhabitable, the GPTA got management to
   make changes. When management ignored requests for repairs, the GPTA intervented.
   A few years ago another tenant sued Gateway over the windows issue. He settled and received new windows.
   Hopefully, Ms Koetz and Ms Rajkumar are in this to help all tenants ­not just themselves.
   Reply

                    Guest
                    April 3, 2014 ­ 12:46


           Two tenants are fighting for your rights, and you have a problem with that? You need to get your head checked.
           The real opportunists here are Shelly (who is being funded underhand by LeFrak), Chin (who is in the pocket of
           LeFrak and other real estate moguls), and the other elected officials. Rajkumar and Koetz are our hope to make a
           change, both in gateway and for the community. We as tenants need to stand by their lawsuit on our behalf.
           Reply

                            FreezinginGateway
                            April 5, 2014 ­ 04:31


                   Google how class action lawsuits work. The court will probably not be able to force LeFrak to replace our
                   leaky windows. therefore, a monetary settlement is likely. The lawyer and lead plaintifs get the largest
                   amount of any money paid in a settlemnt. So unless you plan to join the lawsuit you will get very little
                   money.
                   To say that these women are our hope is pathetic.

                   Only time will tell if MS Koetz and Ms Rajkumar continue to be concerned about Gateway after the
                   election.
                   Reply


                                   Guest
                                   April 5, 2014 ­ 15:10


                           The previous poster is misinformed and everything in the post is incorrect. This class action can in
                           fact compel LeFrak to fix the windows. That is why the complaint asks for "injunctive relief." If
                           injunctive relief is granted, LeFrak will have to fix the windows.

                           The previous poster is also misinformed about monetary rewards. Since this is filed in state court,
                           the lead plaintiff will probably receive little, if any, money.
                           And by the way, Rajkumar and Koetz have a long track record in the community that probably
                           rivals anything you've ever done. To spew the "opportunist" label at them must mean that you
                           have ulterior motives. Perhaps you were sent by Glenn Plaskin and Jeff Galloway, or by Shelly.
                           Reply

                                         FreezinginGateway
                                         April 5, 2014 ­ 19:45


http://www.downtownexpress.com/2014/04/02/rajkumar­suprises­pols­with­gateway­plaza­lawsuit/                                      4/6
4/7/2017                                 Rajkumar suprises pols with Gateway Plaza lawsuit | DOWNTOWN EXPRESS
                        Case 1:15-cv-06119-AJN-JLC          Document 373-28 Filed 06/19/17 Page 35 of 39
                             You can write your revisionist history all you want but Ms Koettz has not have a long track
                             record on the downtown community. She was on the GPTA board for one year. She was also
                             a member of the Bush­43 administration so could not have been in NYC very long. She is
                             championing this cause only because she wants to rally voters to her side in her attempt to
                             oust Mr Silver. . At least Ms. Rajkumar has been district leader for a few years.
                             "If" is the operative word in your first paragraph. Injunctive relief is rarely granted, but for
                             all of our sakes, I really hope I am wrong..

                             Call me ungrateful but I refuse to declare someone who is using our misery to advance
                             themselves a hero!
                             BTW are you sure you're not an employee of MS Koetz's campaign or even Ms Koetz
                             herself?




            Go Rajkumar
            April 3, 2014 ­ 12:47


   Well, Go Rajkumar. I hope she succeeds. Gateway residents have been cheated for years, everyone knows it.
   Reply


            Rudolph Rassendyll
            April 4, 2014 ­ 08:21


   It cannot hurt to have the matter before the courts. At least it is additional pressure. Aging properties, not maintained
   apparently for years, perhaps fundamentally flawed ab initio, perhaps never fully recovered from 9/11, perhaps never
   fully insulated from major storm damage — all major landlord problems. BPCA is tainted — it collects on the ground
   lease. Mr. Silver is too long in office without effective challenge. A TA association that negotiates forever?… Yeah,
   additional pressure to Do Something Now seems reasonable. The major issue: Who Pays The Fees?
   Reply




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    Comment 




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             − six = 2

           Post Comment




   The Villager                                      Gay City News
    Has St. Luke’s dropped L.G.B.T.                   What the Seventh Circuit Said About
    drop­in center plan for Christopher               Sexual Orientation Discrimination
    St.?
                                                      Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide                                   Gilbert Baker, Whose Rainbow Flag Sewed
                                                      LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for                    65
    Jane Jacobs, get after­school funds
                                                      BULLETIN –– Gilbert Baker, Rainbow Flag
                                                      Creator, Has Died
http://www.downtownexpress.com/2014/04/02/rajkumar­suprises­pols­with­gateway­plaza­lawsuit/                                    5/6
4/7/2017                             Rajkumar suprises pols with Gateway Plaza lawsuit | DOWNTOWN EXPRESS
                    Case 1:15-cv-06119-AJN-JLC          Document 373-28 Filed 06/19/17 Page 36 of 39
    Smorgasburg will take a bite of
    Hudson Square
                                          East Villager News

   Chelsea Now                            Best in Screen, 2015

    Soup Kitchen Braces for Trump         A Coney Island of the East Village at City
    Budget Cuts                           Lore

    At Fountain House Gallery, Art        NYCHA will build on ‘hot’ East Side, chief
    Frames Focus on Mental Health         assures

    Timothy Caughman Remembered as
    Living in a ‘State of Joy’                           FOOTER2


                  FOOTER1

                                                                                                      FOOTER3




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4/7/2017                           Leaders to B.P.C.A.: Community’s needs are not marginal | DOWNTOWN EXPRESS
                    Case 1:15-cv-06119-AJN-JLC            Document 373-28 Filed 06/19/17 Page 37 of 39




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    Leaders to B.P.C.A.: Community’s needs are not marginal
      December 31, 2014 |      Filed under: News |    Posted by: admin                                                                   Custom Search



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                                           Downtown Express file photo by Milo Hess
                                        Michael Fortenbaugh at a North Cove rally Dec. 15.



    BY JOSH ROGERS  AND  DUSICA SUE MALESEVIC    |  Downtown leaders are calling on
    the Battery Park City Authority to take a new look at finding an operator for its marina while also
    paying more attention to the community’s needs.

    The authority last month appeared to be on the verge of giving the boot to North Cove Marina
    Management and its leader, Michael Fortenbaugh.

    A longtime neighborhood resident, Fortenbaugh has been a fixture at the marina for 20 years, the
    last 10 of which he managed North Cove in addition to running a sailing school there.

    His lease is set to expire Jan. 1, and the authority has agreed to allow him to stay another 90 days
    (after first offering 60), but they pointedly asked for the marina keys back in December.

    Community Board 1 passed a resolution Dec. 18 asking the authority to start a new, transparent
    request for proposal process, or R.F.P., increasing the emphasis on community­based programming.
    The current R.F.P. weighs this programming by 15 percent.

    The authority expects to vote sometime in January.
http://www.downtownexpress.com/2014/12/31/leaders­to­b­p­c­a­communitys­needs­are­not­marginal/                                                                                    1/5
4/7/2017                              Leaders to B.P.C.A.: Community’s needs are not marginal | DOWNTOWN EXPRESS
                       Case 1:15-cv-06119-AJN-JLC            Document 373-28 Filed 06/19/17 Page 38 of 39
    This week, Assembly Speaker Sheldon Silver, State Sen. Daniel Squadron, U.S. Rep. Jerrold Nadler,
    Borough President Gale Brewer and Councilmember Margaret Chin wrote the state authority asking
    the B.P.CA. to heed the community board’s advice.

    “When a [community] board speaks with a unanimous voice, we believe that its position must be
    given serious consideration,” the politicians wrote.

    Although the local elected leaders have previously praised Fortenbaugh’s past work, the letter
    marked a shift because the officials contacted the authority directly — something some had been wary
    of doing previously out of concerns about exercising undue influence.

    Fortenbaugh and supporters showed up in full force at Community Board 1’s monthly meeting on 
    Dec. 18.

    “Brookfield is one of the companies who’s trying to take over the marina; we’re just asking for an
    open process,” Fortenbaugh said of the corporation that owns the World Financial Center office
    complex overlooking the marina.

    Teens and pre­teens that had participated in the sailing school said that they have learned leadership
    skills, wanted to see this opportunity available for other kids, and asked that the Battery Park City
    Authority postpone their decision until the community is heard.

    They also had a petition of over 250 signatures — in addition to the over thousand that has been
    signed as part of the Committee to Save North Cove.

    “This process needs to be opened up and have community involvement and understand what the
    various bids are for the site,” said Andrew Zangle, a member of Fortenbaugh’s sailing club. “They
    can’t make this place a corporate place, it needs to be community sailing like it is.”

    Another member, Steve Rawlings, emphasized that community­based sailing is part of the proposals
    that the B.P.C.A. is considering.

    “But what Michael has built here is community­based sailing. You can’t buy it. Is a corporation going
    to go get it?” he said. “Please pass the resolution in support of Michael and then do more. Don’t let
    the Battery Park Authority give the cove to a big corporation.”

    “This whole experience of Michael is very hard for me to swallow,” said Bob Townley, a C.B. 1
    member. “The Battery Park City Authority does what they want … They’re making another mistake
    here.”

    Townley called on elected officials to “put this one of the carpet” and “tell Dennis Mehiel [the
    authority’s chairperson] that they’re not going to stand for this or there’s going to be some
    repercussions.”

    C.B. 1 unanimously passed a resolution that strongly urges elected officials to reach out to the
    B.C.P.A. and that the authority modify the R.F.P. so that there is “greater weight given to the
    ‘community­based’ programming criteria.”

    The authority has said little on the matter in recent weeks and declined to comment Dec. 30.

    Fortenbaugh has asked the authority to stay through the 2015 season, but officials have told him they
    will not consider any of his proposals.

    “It’s too late in the process for any of these bidders to set up all of these programs we run and it’s too
    late for us to find a new location,” Fortenbaugh told Downtown Express Tuesday.

    He said even though tensions have been heightened in recent weeks, he thinks the authority and he
    could still work together if they were to decide to let him stay.

    “If they’re mad we had a rally [Dec. 15], I’m sorry,” he said, “but if government has a problem with
    people getting involved, than government has the problem.”

    COMMUNITY BOARD 1’s BATTERY PARK CITY COMMITTEE TURNED ITS ATTENTION TO GOV.
    CUOMO AND PASSED A NEW RESOLUTION JAN. 6.  

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  12 Responses to Leaders to B.P.C.A.: Community’s needs are not
  marginal
           claire morda
           January 1, 2015 ­ 15:36

http://www.downtownexpress.com/2014/12/31/leaders­to­b­p­c­a­communitys­needs­are­not­marginal/                    2/5
4/7/2017                               Leaders to B.P.C.A.: Community’s needs are not marginal | DOWNTOWN EXPRESS
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   One more David vs Goliath battle in NYC. Beyond money there is no reason for the battle to exist.
   Reply

                   LindaM
                   January 24, 2015 ­ 14:41


           You are so right
           This is the act of a politician's quid pro quo's to their largest donors and should be investigated
           at the highest levels . . . . .US Attorney Preet Bharara's office should look into this
           Reply


            James Sinclair
            January 1, 2015 ­ 18:50


   It's so great to see our elected representatives sticking up for ordinary New Yorkers. Three cheers for State Senator
   Squadron, Borough President Brewer, Assembly Speaker Sheldon, U.S. Representative Nadler and City Council
   member Chin.
   Reply


            Tracy Spinney
            January 1, 2015 ­ 20:02


   Hmmm…. community desires given a whopping 15%… Reminds me of something that's more "Animal Farm" than
   responsive representation. I second the thanks and appreciation for those elected officials who stepped up and asked
   BPCA to put local interests first.
   Reply


            Peter Cavrell
            January 2, 2015 ­ 11:30


   My vote is for competence and community engagement before cronyism.
   The current operators have proven through dedicated hard work that their vision is for everyone. They have
   transformed a moribund marina into a vibrant, enriching oasis for anyone who cares to be a part of it.
   Support transparency and honesty.
   Reply


            Edouard Ruelle
            January 2, 2015 ­ 14:38


   Mr. Fortenbaugh’s work in North Cove for the past 10 years has been fantastic. Sailing available for all newyorkers at
   affordable prices. A North Cove for all to enjoy and not just for a very few privileged. We need more of that. And big
   thanks to the elected officials for their support!
   Reply


            liz
            January 2, 2015 ­ 16:28


   A day late and a dollar short. The elected officials have known about community outrage on this since 8 October and
   they chose to do nothing until fortenbaugh’s lease expired. Bpca just hired a Director of marina operations as they
   transition Michael out. Enormous loss for the community.
   Reply


            Cheryl
            January 2, 2015 ­ 17:18


   The International Yachting community has benefitted by the existence of North Cove. Michael has welcomed many
   famous and noteworthy persons to NYC. He is an ambassador as well as a commodore. Someone is missing the bigger
   picture.
   Reply


            Julie S
            January 2, 2015 ­ 19:05


   I previously worked for Michael Fortenbaugh and witnessed firsthand how he made sailing accessible to Manhattan's
   inner city youth, all New Yorkers and even hosted international events with spectacular hospitality. I hope Michael has
   the opportunity to manage North Cove for the next 10 years and beyond.
   Reply


            Forrest
            January 3, 2015 ­ 13:16


   BPCA = Cuomo
   Reply


   Liz M
http://www.downtownexpress.com/2014/12/31/leaders­to­b­p­c­a­communitys­needs­are­not­marginal/                              3/5
